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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CYNTHIA PERDUM,                                 :
                                                :
               Plaintiff,                       :
v.                                              :
                                                :      Civil Action File No.:
WELLS FARGO HOME MORTGAGE,                      :      1:17-CV-972-SCJ-JCF
                                                :
               Defendant.                       :

           GUIDELINES FOR DISCOVERY AND MOTION PRACTICE

                                     GUIDELINES

         These Guidelines are furnished for the convenience of counsel and the court to

promote the just, speedy and economical disposition of cases.

                                GENERAL MATTERS

         Attorneys and pro se litigants appearing in this court in civil litigation must

observe three sets of rules:

         1. The Federal Rules of Civil Procedure
         2. The District Court Local Rules and Instructions Regarding Pretrial
         Proceedings
         3. The rules and practices of the Magistrate Judge assigned to your case1

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     The information that follows in this Guideline provides the rules and practices to
which counsel and parties should adhere in conducting discovery and filing motions for
summary judgment. Additional information about the rules and practices of this Court
can be obtained from the Clerk of Court, the magistrate judge=s courtroom deputy or his
law clerk.
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                                PRELIMINARY FILINGS

         Attorneys and pro se litigants are reminded that within 30 days after the

appearance of the first defendant by answer or motion or the date a removed case is

filed in this court, the parties should file their Joint Preliminary Report and Discovery

Plan, as required by FED.R.CIV.P. 16 and 26 and LR 16.2, NDGa.; and within 30 days

after the appearance of a defendant by answer or motion or the date a removed case is

filed in this court, the parties should serve their Initial Disclosures, pursuant to

FED.R.CIV.P. 26 and LR 26.1, NDGa.; and within 30 days after the appearance of a

defendant by answer or motion, private (non-governmental) parties should each file

and serve a Certificate of Interested Persons, as required by LR 3.3, NDGa.

                                    DISCOVERY

    1.      General Principles of Discovery. Counsel and pro se litigants should be

    guided by courtesy, candor and common sense, and conform to the Federal Rules of

    Civil Procedure, the Local Rules, and applicable orders in conducting discovery. In

    particular, counsel and pro se litigants should have in mind the restrictions on the

    scope of discovery stated in Rule 26(b) and the good faith obligations implicit in Rule

    26(g). Direct and informal communication between counsel is encouraged to

    facilitate discovery and resolve disputes. In this regard, the court refers counsel and



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parties to the guidance offered by the district court for the Central District of

California in O=Connor v. Boeing North American, Inc., 185 F.R.D. 272, 284 (C.D.

Cal. 1999):

      The Court would like to take this opportunity to address the parties and
      their counsel, to stress that A[t]he discovery system depends absolutely
      on good faith and common sense from counsel. The courts, sorely
      pressed by demands to try cases promptly and to rule thoughtfully on
      potentially case dispositive motions, simply do not have the resources to
      police closely the operation of the discovery process. The whole system
      of [c]ivil adjudication would be ground to a virtual halt if the courts were
      forced to intervene in even a modest percentage of discovery
      transactions. That fact should impose on counsel an acute sense of
      responsibility about how they handle discovery matters. They should
      strive to be cooperative, practical and sensible, and should turn to the
      courts (or take positions that force others to turn to the courts) only in
      extraordinary situations that implicate truly significant interests.@

(Citation omitted).

2.    Timeliness. The time limits specified in the rules and applicable orders must

be observed. If additional time is required, a continuance must be sought in advance

by order of the court. (See & 4 below).

3.    Discovery Cut-Off. Discovery cut-off dates are the last date for filing

discovery responses, unless otherwise specified by court order. To be timely,

therefore, discovery requests must be served sufficiently in advance (usually 30 days)

of the deadline for responses to be made within the discovery cut-off date. See LR

26.2A., N.D. Ga.

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4.    Extensions of Discovery Period. Requests for extension of the discovery

period or deadlines within the discovery period must be made in accordance with LR

26.2B., N.D. Ga. All requests for extensions of time must state: (1) the original (and

if applicable, current) date from which the extension is being sought; (2) the number

of previous requests for extensions, if any; (3) whether these previous requests were

granted or denied; and (4) whether the adversary consents, and if not, the reasons

given by the adversary for refusing to consent. NOTE: An agreed upon or consent

motion to extend the discovery period or deadlines therein should be clearly

designated as a CONSENT motion.

5.    Designation of Expert Witnesses and Reports. The local rules require

disclosure of expert witnesses sufficiently early in the discovery period to allow for

adequate time to depose the expert and, if desired, to name a rebuttal expert witness.

See LR 26.2C., N.D. Ga. In accordance with this requirement, no later than 60 days

before the close of the discovery period, the identity of and the report of any

affirmative expert witness shall be served, together with all other disclosures required

by FED.R.CIV.P. 26(a)(2)(B). No later than 30 days before the close of the discovery

period the identity of and the report of any proposed rebuttal expert witness shall be

served, together with all other disclosures required by FED.R.CIV.P. 26(a)(2)(B). Each

expert report shall conform with FED.R.CIV.P. 26(a)(2)(B).

6.    Supplementing Discovery Responses. FED.R.CIV.P. 26(e) requires that initial
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disclosures and earlier discovery responses be supplemented if the disclosure or

response was incorrect or is incomplete or to the extent the disclosure or response

relates to potential expert or other witnesses. The court strongly encourages counsel

and pro se litigants to ensure that, prior to close of discovery, all prospective

witnesses are identified in the initial or supplemental disclosures. Failure to comply

with the duty to supplement may result in exclusion of evidence or witnesses in

consideration of dispositive motions and at trial.

7.    Depositions

      a.     Scheduling. Barring extraordinary circumstances, opposing counsel and

             pro se litigants should be consulted and the convenience of counsel,

             witnesses and the parties accommodated before a deposition is noticed.

             Concurrent depositions are not permitted in the absence of stipulation or

             order.

      b.     Stipulations. When counsel or parties enters into stipulations at the

             beginning of a deposition, the terms of the stipulation should be fully

             stated on the record of the deposition.

      c.     Questioning. Questions should be brief, clear and simple. The purpose

             of a deposition is not to harass or intimidate, but simply to make a clear

             and unambiguous record of what that witness=s testimony would be at

             trial.
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    d.    Documents. Normally, except in the case of impeachment, a witness

          should be shown a document before being questioned about it.

    e.    Objections. Under Rule 30(c)(2), objections to the manner of taking the

          deposition, to the evidence or to the conduct of a party shall be noted on

          the record but the evidence objected to shall be taken subject to the

          objection. In the absence of a good faith claim of privilege, instructions

          not to answer are rarely justified and may lead to sanctions under Rule

          37. Speaking objections and other tactics for coaching a witness during

          the deposition may also be cause for sanctions. If counsel or a pro se

          litigant believes that a motion to terminate or limit the examination

          under Rule 30(d)(3) would be warranted, counsel and/or the pro se

          litigant should promptly initiate a conference call to the court with

          opposing counsel for a pre-motion conference to attempt to resolve the

          problem. (See & 11 below).

    f.    Expert Disclosures. Rule 26(b)(4) should be consulted. However,

          experts who are prospective witnesses are normally produced for

          deposition by the opposing party as a matter of course.

    g.    Limitations on Depositions. The parties are expected to observe the

          limitations specified in Rules 26(b) and 30 and, in particular, to avoid

          unnecessary depositions.
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8.   Interrogatories.

     a.    Informal Requests. Whenever possible, counsel should try to exchange

           information informally. The results of such exchanges, to the extent

           relevant, may then be made of record by requests for admission.

     b.    Number and Scope of Interrogatories. The parties are expected to

           observe the limitations stated in Rules 26(b) and 33. Counsel=s or a pro

           se litigant=s signature on the interrogatories constitutes a certification of

           compliance with those limitations. Interrogatories should be brief,

           straight-forward, neutral, particularized and capable of being understood

           by jurors when read in conjunction with the answer. Ordinarily, they

           should be limited to requesting objective facts, such as the identification

           of persons or documents, dates, places, transactions, and amounts.

           Argumentative interrogatories, attempts to cross-examine and multiple

           repetitive interrogatories are objectionable.

     c.    Responses. Rule 33(b) requires the respondent to provide separate

           written answers to each interrogatory unless it is objected to. If an

           objection is made, the reason(s) for the objection shall be stated and the

           interrogatory is to be answered to the extent it is not objectionable.

           When in doubt about the meaning of an interrogatory, give it a

           reasonable interpretation (which may be specified in the response) and
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           answer it so as to provide rather than deny information. Generally, the

           responding party is required to produce information only in the form in

           which it is maintained. If an answer is made by reference to a document,

           attach it or identify it and make it available for inspection. (See & 9

           below). Generalized cross-references, such as to a deposition, are not an

           acceptable answer.

     d.    Objections.   Consult FED.R.CIV.P. 26(b) and 33(b)-(d) about the

           permissible scope of discovery and objections. Counsel=s or a pro se

           litigant=s signature on the answer constitutes a certification of

           compliance with the requirements of FED.R.CIV.P. 26(g).

     e.    Privilege. If an objection is based on privilege, the claim of privilege

           must be supported by a statement of particulars sufficient to enable the

           court to assess its validity. In the case of a document, such a statement

           should specify the privilege relied on and include the date, title,

           description, subject and purpose of the document, the name and position

           of the author and the addresses of other recipients. In the case of a

           communication, the statement should include the privilege relied on and

           the date, place, subject and purpose of the communication and the names

           and positions of all persons present. See FED.R.CIV.P. 26(b)(5).

9.   Requests for Production or Inspection.
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    a.    Informal Requests. (See & 8a above).

    b.    Number and Scope of Requests. Although the court has no standing

          limitation, it will be guided in each case by the limitations stated in

          FED.R.CIV.P. 26(b) and 34. To the extent possible, requests should

          specify with particularity the title and description of documents or

          records requested. (Information needed for specification can often be

          obtained by informal discovery or by deposition or by interrogatories, if

          necessary.) The certification requirement of Rule 26(g) applies.

    c.    Responses.    Materials, including electronically stored information,

          should be produced in accordance with FED.R.CIV.P. 34(b)(2)(E).

          Documents should be produced either with labels corresponding to the

          categories in the specific requests to which they respond or in the

          manner in which they are kept in the usual course of business. Opening

          a warehouse for inspection by the requesting party, burying the

          responsive documents in a mass of materials, and similar procedures do

          not meet the good faith requirements of the rules. The certification

          procedure of FED.R.CIV.P. 26(g) is applicable.

    d.    Objections. Consult FED.R.CIV.P. 26(b) and 34 about the permissible

          scope of discovery and objections.

    e.    Privilege. (See & 8e above).
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10.   Requests for Admission

      a.   Use of Requests. Requests for admission are an economical and efficient

           means of making a record of informal exchanges of information,

           stipulations, matters subject to judicial notice, and of narrowing issues.

      b.   Form of Requests. Each request should be brief, clear, simple, addressed

           to a single point and stated in neutral, non-argumentative words.

           Requests ordinarily should deal with only objective facts. They may be

           combined with interrogatories to ask for the factual basis of a claim or a

           denial. The attorney=s or pro se litigant=s signature certifies compliance

           with FED.R.CIV.P. 26(g).

      c.   Responses.    FED.R.CIV.P. 36(a)(4) requires that a response shall

           specifically deny a matter or set forth in detail the reasons why the party

           cannot admit or deny. A denial shall fairly meet the substance of the

           request, and when good faith requires, a party shall specify so much as is

           true and qualify or deny the remainder. The responding party has a duty

           to make reasonable inquiry before responding.           The certification

           requirement of FED.R.CIV.P. 26(g) applies.

      d.   Objections and Privileges. (See & 8d. and 8e. above).

11.   Motions to Compel or for Protective Orders.

      a.   Pre-Motion Conference. Counsel or pro se litigants are required to
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              confer, by telephone or in person, in good faith before bringing a

              discovery dispute to the court. See FED.R.CIV.P. 26(c) and 37(a)(1); LR

              37.1A, N.D. Ga. The duty to confer is NOT satisfied by sending a

              written document, such as a letter, email or fax, to the adversary,

              UNLESS repeated attempts to confer by telephone or in person are met

              without success due to the conduct of the adversary. If counsel or pro se

              litigants are unable to informally resolve the discovery dispute, they

              should arrange a telephone conference with the court through the court=s

              judicial assistant or courtroom deputy.2 If the differences cannot be

              resolved during the conference with the court, the court will direct

              further proceedings. Motions to compel or for a protective order should

              ordinarily NOT be filed without a prior conference with the court.

         b.   Memoranda. In the event that memoranda are submitted, they should

              comply with LR 37.1, N.D. Ga., and be brief, focus on the facts of the

              particular dispute, and avoid discussion of general discovery principles.

              The court cautions against the inclusion of (and will disregard) any


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       Counsel and pro se litigants should be aware that if the issue upon which the
dispute rests is complex, the court may request that prior to the conference, the parties
jointly submit a short (two double spaced pages or less) letter providing an overview of
the contested issue(s).

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              generalized recitation of Ahistorical@ discovery disputes between the

              parties or any Afinger pointing@ or disparaging remarks directed at

              opposing counsel or the opposing party.

      c.      Sanctions.   If sanctions are sought, include a declaration and the

              appropriate documentation to support the amount requested.

12.   Protective Orders.

      Parties wishing any document filed as part of the record under seal must first

present a motion and/or consent order regarding said document to the Court. The

Clerk of the Court is not authorized to accept for filing any document designated as

sealed without an Order from the Court approving specific documents to be filed

under seal.

13.   Reference to Guidelines.

      The court will be guided by these Guidelines in resolving discovery disputes

and imposing sanctions.

      IT IS SO ORDERED this 12th day of April, 2018.

                                       /s/ J. Clay Fuller
                                       J. Clay Fuller
                                       United States Magistrate Judge




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